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AO 91 (Rev. 11/11) Criminal Complaint


                                        UNITED STATES DISTRICT COURT                            U.S. DISTRICT COURT – N.D. OF N.Y.

                                                         for the                                         FILED
                                              Northern District of New York
UNITED STATES OF AMERICA                             )                                              Jun 27 - 2023

               v.                                    )                                               John M. Domurad, Clerk

UQOEON LAWRENCE                                      )       Case No. 5:23-MJ-358 (ATB)
                                                     )
                                                     )
                                                     )
                                                     )
                      Defendant(s)                   )

                                              CRIMINAL COMPLAINT

          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of June 26, 2023 in the county of Onondaga in the Northern District of New York the

defendant(s) violated:

            Code Section                                                 Offense Description
18 U.S.C. § 922(g)(1)                            Possession of a firearm by a previously convicted felon
21 U.S.C. § 841(a)(1) and (b)(1)(C)              Possession with intent to distribute a controlled substance


This criminal complaint is based on these facts:
See attached affidavit
 ☒       Continued on the attached sheet.


                                                                         Complainant’s signature
                                                                   Richard Gardinier, ATF Special Agent
                                                                            Printed name and title

Attested to by the affiant in accordance with Rule 4.1 of the Federal Rules of Criminal Procedure.

Date:          6/27/2023
                                                                              Judge’s signature

City and State:           Syracuse, NY                         Hon. Andrew T. Baxter, U.S. Magistrate Judge
                                                                            Printed name and title
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                         IN THE UNITED STATES DISTRICT COURT
                         FOR NORTHERN DISTRICT OF NEW YORK

 UNITED STATES

        v.
                                                   Case No. 5:23-MJ-358 (ATB)
 UQOEON LAWRENCE

        Defendant.


                                AFFIDAVIT IN SUPPORT OF
                                 A CRIMINAL COMPLAINT

       I, Richard Gardinier, being first duly sworn, hereby depose and state as follows:


                      INTRODUCTION AND AGENT BACKGROUND

       1.       I make this affidavit in support of a criminal complaint charging Uqoeon

LAWRENCE, the defendant, with violating Title 18, United States Code, Section 922(g)(1)

(possession of a firearm by a previously convicted felon); and Title 21, United States Code,

Section 841(a)(1) and (b)(1)(C) (possession with intent to distribute a controlled substance).

       2.       I am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms and

Explosives (ATF), and have been since January 2, 2017. I have attended the Federal Law

Enforcement Training Center (FLETC), located in Glynco, Georgia, where in I was enrolled in,

and successfully completed, both Criminal Investigator Training Program (CITP) and Special

Agent Basic Training (SABT). During the course of my training, I received instruction on physical

surveillance, interviewing sources of information and defendants, reviewing telephone and

financial records, applying for and serving search warrants, firearms trafficking, etc.

       3.       Prior to my time with ATF, I was employed by the United States Secret Service,

Uniformed Division (USSS/UD) for four years. I was enrolled in and successfully completed the
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Uniformed Police Training Program (UPTP) at FLETC, as well as New Officer Training with the

USSS/UD, located in Beltsville, Maryland.

       4.      I am an investigative, or law enforcement officer of the United States within the

meaning of Title 18, United States Code, Section 2510 (7), that is, an officer of the United States

who is empowered by law to conduct investigations of and make arrests for the offenses

enumerated in Title 18, 21 and 26, United States Code.

       5.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. This affidavit is intended

to show merely that there is sufficient probable cause for the requested criminal complaint and

does not set forth all of my knowledge about this matter.

       6.      Based on my training and experience and the facts as set forth in this affidavit,

there is probable cause to believe Uqoeon LAWRENCE has violated Title 18, United States

Code, Section 922(g)(1) by possessing in his RESIDENCE a firearm—namely, an H&R, Pardner

Pump, 20-gauge shotgun bearing serial number NZ564010, (FIREARM)—after previously

having been convicted of a crime punishable by imprisonment by a term exceeding one year; and

Title 21, United States Code, Section 841(a)(1), by possessing with intent to distribute

approximately 9 grams of fentanyl contained within approximately 9 “bricks” packaging in his

RESIDENCE.

                                         PROBABLE CAUSE

       7.      On June 26, 2023, at approximately 1900 hours, members of the ATF Syracuse

Field Office executed a federal search warrant for the person of Uqoeon LAWRENCE and 250

Thurber Street, apartment 2, Northern District, Onondaga County, Syracuse, New York

(RESIDENCE). LAWRENCE was located exiting the RESIDENCE and detained.

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       8.       Inside the RESIDENCE, several items of evidentiary value were located. These

items include, but are not limited to;

             a. An H&R, model Pardner Pump, 20-gauge shotgun bearing serial number

                NZ564010.

             b. Several rounds of shotgun ammunition.

             c. Several white packages known as “bricks” of fentanyl containing small glassine

                envelopes, inside of which was an off-white powder which field tested positive

                for the presence of fentanyl.

             d. US Currency.

       9.       The items were photographed, documented and collected at the RESIDENCE.

The items were then returned to the United States Drug Enforcement Administration (DEA)

Syracuse Resident Office, along with LAWRENCE. Once at the DEA Syracuse Office, a field

test was performed by your affiant and witnessed by DEA Task Force Officer Brandon Geer.

The field test of two of the glassine envelopes returned positive results for the presence of

fentanyl. The approximate weight of all of the substance seized was 9 grams.

       10.      LAWRENCE was placed in an interview room at the DEA Syracuse Office. At

approximately 2115 hours, LAWRENCE was read his Miranda Rights from a DEA Miranda

Waiver Form. LAWRENCE knowingly, intelligently, and voluntarily agreed to waive his rights

and speak to your affiant and TFO Geer without an attorney present. LAWRENCE signed the

Miranda Waiver form and began a conversation with law enforcement. The interview was

recorded in audio and video format. The following is a synopsis in sum and substance of the

interaction (not a complete rendition of all the defendant’s statements);



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                a. LAWRENCE admitted to possessing with intent to distribute and distributing

                   fentanyl, methamphetamine, several types of pills known as “blues” believed to

                   be laced with fentanyl, cocaine, and crack cocaine. LAWRENCE admitted to

                   possessing the fentanyl bricks located in his RESIDENCE with the intent that

                   they be distributed. LAWRENCE admitted to previously bagging bricks of

                   fentanyl for distribution at several locations.

                b. LAWRENCE admitted to possessing the FIREARM located in the RESIDENCE.

                   LAWRENCE admitted to receiving the FIREARM as part of a debt a drug

                   customer owed him. LAWRENCE admitted to keeping the FIREARM as

                   protection of his RESIDENCE, his stash of controlled substances, and his family.

                c. LAWRENCE admitted to being a previously convicted felon, and admitted

                   knowing, due to his previous felony conviction for Criminal Contempt in the first

                   degree, that he is prohibited by law from legally possessing firearms.

                d. LAWRENCE admitted to distributing controlled substances to get by and to pay

                   bills for his family. LAWRENCE stated he was in between jobs at this time and

                   was looking for a new job soon.

          11.      Your affiant reviewed LAWRENCE’s criminal history. LAWRENCE was

convicted in Onondaga County Court, New York, on November 02, 2016, of Criminal Contempt

in the 1st Degree, a class E felony, which carries a maximum sentence of up to four years in state

prison.

          12.      Your affiant reviewed the FIREARM, which was loaded with one (1) live round

of 12-gauge shotgun ammunition. Having been previously trained as an Interstate Nexus Expert,

it is my opinion the FIREARM was not manufactured in the State of New York, was

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manufactured in China, and; therefore, having been possessed at the defendant’s RESIDENCE in

Syracuse New York, has affected interstate and/or foreign commerce.

       13.      In light of the foregoing, I respectfully submit there is probable cause to believe

Uqoeon LAWRENCE, the defendant, has violated Title 18, United States Code, Section

922(g)(1) and Title 21, United States Code, 841(a)(1) and (b)(1)(C). I respectfully request the

Court authorize the filing of this complaint so that the defendant may be brought to court for

further proceedings in accordance with the law.

                                                      Attested to by the affiant:


                                                      ___________________________________
                                                      Richard Gardinier
                                                      Special Agent
                                                      Bureau of Alcohol, Tobacco, Firearms and
                                                      Explosives


I, the Honorable Andrew T. Baxter, United States
Magistrate Judge, hereby acknowledge that this
affidavit was attested by the affiant by telephone
on June 27, 2023, in accordance with Rule 4.1
of the Federal Rules of Criminal Procedure.


_________________________________________
UNITED STATES MAGISTRATE JUDGE




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